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UNITED STATED DISTRICT COURT

DISTRICT OF CONNECTICUT 105 986 20 A We 59
SALLY GREENHOUSE ; CIVIL NO.: 3:65 GVGIB9 (alin)
Plaintiff
Vv
YALE UNIVERSITY
Defendant ; DECEMBER 16, 2005

MOTION FOR NON-SUIT
The defendant in the above-captioned matter respectfully requests this Court to enter a
non-suit against the plaintiff for the reason that, to the date of this motion, the plaintiff has

failed to comply with the defendant’s Interrogatories and Requests for Production dated -

October 14, 2005.

THE DEFENDANT
YALE UNIVERSITY

By Pd hoor

Patrick M. Noonan

Donahue, Durham & Noonan, P.C.
741 Boston Post Road

Guilford, CT 06437

203-458-9168

ORAL ARGUMENT IS NOT REQUESTED
TESTIMONY IS NOT REQUIRED.

DONAHUE, DURHAM & NOONAN, P.C.
CONCEPT PARK * 741 BOSTON POST ROAD
GUILFORD, CONNECTICUT 06437
TEL: (203) 458-9168 « FAX: (203) 458-4424
JURIS NO. 415438

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ORDER

The foregoing motion having been heard by this Court, it is hereby ORDERED:
GRANTED/DENIED.

BY THE COURT

 

CERTIFICATION
This is to certify that a copy of the foregoing was mailed, postage prepaid, on the
above-written date, to:
John R. Williams, Esquire
John R. Williams & Associates, LLC

51 Elm Street, Suite 409
New Haven, CT 06510

Patrick M. Noonan

 

 
